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 2
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 4   toddleras@gmail.com
     Attorney for Defendant
 5
     JESSICA CORRO
 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:15-CR-140 MCE
12
                    Plaintiff,
13
     vs.                                               SUPPLEMENTAL STIPULATION AND
14                                                     [PROPOSED] ORDER MODIFYING
     JESSICA CORRO,                                    DEFENDANT’S SPECIAL CONDITIONS
15                                                     OF RELEASE (REMOVAL OF CURFEW)
16                  Defendant.

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20
            The parties to this action, Plaintiff United States of America by and through Assistant
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22   United States Attorney Paul Hemesath, and Defendant Jessica Corro by and through her attorney

23   Todd D. Leras, stipulate as follows:
24          1. On December 8, 2015, United States Magistrate Judge Carolyn K. Delaney signed an
25
                order removing a previously imposed special condition of release requiring that
26
                Defendant Jessica Corro participate in an electronic location monitoring program.
27
     SUPPLEMENTAL ORDER MODIFYING
28   PRE-TRIAL RELEASE CONDITION
               Case 2:15-cr-00140-DC Document 49 Filed 12/17/15 Page 2 of 4


 1          2. Location Monitoring Specialist Amaryllis Gonzalez with Pre-Trial Services in the
 2
                Eastern District of California initially requested that the parties consider removal of
 3
                the electronic location monitoring program condition on the grounds that while
 4
                subject to pre-trial release conditions Ms. Corro had maintained stable employment,
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 6              reported as directed, and had no sustained substantive violations.

 7          3. Following removal of the electronic location monitoring program condition, Officer
 8
                Gonzalez noticed that Special Condition 14, imposing a curfew every evening from 8
 9
                p.m. to 6:00 a.m., remained in full force and effect. This curfew condition was
10
                enforced through use of the electronic location device. It is therefore no longer
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12              necessary in light of removal of the condition requiring that Ms. Corro submit to

13              location monitoring.
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            4. Pre-Trial Services is requesting that the curfew condition imposed through Special
15
                Condition of Release 14 be removed. The government has no opposition to this
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                request based on removal of the previously-imposed electronic location monitoring
17

18              condition.

19          The parties therefore request modification of Ms. Corro’s Special Conditions of Release
20
     to remove Special Condition Number 14 relating to imposition of a curfew. All other general
21
     and special conditions of release previously-ordered by United States Magistrate Judge Edmund
22
     F. Brennan on July 15, 2015 (other than electronic location monitoring and the curfew) remain in
23

24   full force and effect. Assistant U.S. Attorney Paul Hemesath has reviewed this stipulation and

25   proposed order and authorized Todd Leras to sign it on his behalf.
26

27
     SUPPLEMENTAL ORDER MODIFYING
28   PRE-TRIAL RELEASE CONDITION
             Case 2:15-cr-00140-DC Document 49 Filed 12/17/15 Page 3 of 4


 1   DATED: December 15, 2015
                                             By    Todd D. Leras for
 2
                                                   PAUL HEMESATH
 3                                                 Assistant United States Attorney

 4   DATED: December 9, 2015
                                             By    /s/ Todd D. Leras
 5
                                                   TODD D. LERAS
 6                                                 Attorney for Defendant
                                                   JESSICA CORRO
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     SUPPLEMENTAL ORDER MODIFYING
28   PRE-TRIAL RELEASE CONDITION
               Case 2:15-cr-00140-DC Document 49 Filed 12/17/15 Page 4 of 4


 1                                               ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that Special Condition 14, requiring Defendant Jessica Corro be subject to a
 4
     curfew each evening from 8 p.m. to 6:00 a.m., is removed. All other general and special
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 6   conditions of release imposed by this Court on July 15, 2015, with the exception of the

 7   subsequently removed electronic monitoring condition, remain in full force and effect.
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     DATED: December 17, 2015
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     SUPPLEMENTAL ORDER MODIFYING
28   PRE-TRIAL RELEASE CONDITION
